           Case 1:19-vv-01635-UNJ Document 52 Filed 03/03/22 Page 1 of 9




    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-1635V
                                        (not to be published)


    TATUM BREVIG,
                                                                Chief Special Master Corcoran
                          Petitioner,
    v.                                                          Filed: January 31, 2022


    SECRETARY OF HEALTH AND                                     Special Processing Unit (SPU);
    HUMAN SERVICES,                                             Attorney’s Fees and Costs; Hourly
                                                                Rate;    Non-Compensable   Billing;
                         Respondent.                            Administrative Time; Costs



Seth Zawila, Robins Kaplan LLP, Minneapolis, MN for Petitioner.

Christine Mary Becer, U.S. Department of Justice, Washington, DC, for Respondent.

                       DECISION ON ATTORNEY’S FEES AND COSTS 1

        On October 21, 2019, Tatum Brevig filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration causally related to her receipt of an influenza vaccine on October 22, 2016.
(Petition at 1). On September 14, 2021, a decision was issued awarding compensation
to Petitioner based on the parties’ stipulation. (ECF No. 37).




1
   Because this unpublished Decision contains a reasoned explanation f or the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If , upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section ref erences to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
         Case 1:19-vv-01635-UNJ Document 52 Filed 03/03/22 Page 2 of 9




        Petitioner has now filed a motion for attorney’s fees and costs, dated December 1,
2021 (ECF No. 47), requesting a total award of $40,921.50 (representing $38,654.00 in
fees and $2,267.50 in costs). In accordance with General Order No. 9, counsel for
Petitioner represents that she incurred no out-of-pocket expenses. (Id. at 2). Respondent
reacted to the motion on December 15, 2021, indicating that he is satisfied that the
statutory requirements for an award of attorney’s fees and costs are met in this case, but
deferring resolution of the amount to be awarded at the Court’s discretion. (ECF No. 49).
Petitioner did not file a reply.

       I have reviewed the billing records submitted with Petitioner’s requests and find a
reduction in the amount of fees to be awarded appropriate, for the reasons listed below.

                                       ANALYSIS

        The Vaccine Act permits an award of reasonable attorney’s fees and costs. Section
15(e). Counsel must submit fee requests that include contemporaneous and specific
billing records indicating the service performed, the number of hours expended on the
service, and the name of the person performing the service. See Savin v. Sec’y of Health
& Human Servs., 85 Fed. Cl. 313, 316-18 (2008). Counsel should not include in their fee
requests hours that are “excessive, redundant, or otherwise unnecessary.” Saxton v.
Sec’y of Health & Human Servs., 3 F.3d 1517, 1521 (Fed. Cir. 1993) (quoting Hensley v.
Eckerhart, 461 U.S. 424, 434 (1983)). It is “well within the special master’s discretion to
reduce the hours to a number that, in [her] experience and judgment, [is] reasonable for
the work done.” Id. at 1522. Furthermore, the special master may reduce a fee request
sua sponte, apart from objections raised by respondent and without providing a petitioner
notice and opportunity to respond. See Sabella v. Sec’y of Health & Human Servs., 86
Fed. Cl. 201, 209 (2009). A special master need not engage in a line-by-line analysis of
petitioner’s fee application when reducing fees. Broekelschen v. Sec’y of Health & Human
Servs., 102 Fed. Cl. 719, 729 (2011).

        The petitioner “bears the burden of establishing the hours expended, the rates
charged, and the expenses incurred.” Wasson v. Sec’y of Health & Human Servs., 24 Cl.
Ct. 482, 484 (1991). The Petitioner “should present adequate proof [of the attorney’s fees
and costs sought] at the time of the submission.” Wasson, 24 Cl. Ct. at 484 n.1.
Petitioner’s counsel “should make a good faith effort to exclude from a fee request hours
that are excessive, redundant, or otherwise unnecessary, just as a lawyer in private
practice ethically is obligated to exclude such hours from his fee submission.” Hensley,
461 U.S. at 434.

                                            2
             Case 1:19-vv-01635-UNJ Document 52 Filed 03/03/22 Page 3 of 9




                                            ATTORNEY FEES


                    A. Hourly Rates

       Petitioner requests that I endorse a range of rates for the multiple attorneys,
paralegals and staff that all billed time in this matter from 2017 to 2021. I find adjustments
are needed to all the requested rates, due to the excessive rates and attorney’s
inexperience in the Vaccine Program. I will address each of the requested rates by
attorney listed below.

                           i.      Seth Zawila

       First, I begin with the counsel of record, Seth Zawila. Petitioner requests I endorse
the rates of $315 for 2019; $330 for 2020; and $460 for 2021. (ECF No. 47-1 at 3-10).

        In the affidavit filed with Petitioner’s motion, Mr. Zawila states that he “has been
practicing law for over three years” which places him in the range of attorneys with less
than 4 years’ experience for 2019 and 2020 and the range of with 4-7 years’ experience
for 2021. (ECF No. 47-2 at 1). Mr. Zawila’s requested rates greatly exceeds what an
attorney with comparable overall legal experience (including those with a lack of vaccine
petition-specific experience) would receive in the Vaccine Program. See McCulloch v.
Sec’y of Health and Human Services, No. 09–293V, 2015 WL 5634323, at *17 (Fed. Cl.
Spec. Mstr. Sept. 1, 2015). The appropriate fee ranges for an attorney with Mr. Zawila’s
overall years of experience would be as follows: $162 - $243 per hour for 2019; $169 -
$253 per hour for 2020; and $266 - $355 per hour for 2021. 3 When determining the
appropriate hourly rate within these ranges, I consider the additional factors set forth in
McCulloch: experience in the Vaccine Program, overall legal experience, the quality of
work performed, and reputation in the legal community and community at large. 2015 WL
5634323, at *17.

       At the start of this case, Mr. Zawila had three years of overall experience but no
experience in the Vaccine Program. 4 It is for this reason I find it appropriate to reduce the
requested hourly rates for Mr. Zawila for all periods of work performed on this matter to
something more in line with his Vaccine Program experience and overall legal experience,
and therefore award the following rates:

3
    These ranges can be found in OSM Attorney’s Forum Hourly Rate Schedules.
4
    Court record show this is Mr. Zawila’s first vaccine case with no remaining cases open.

                                                      3
             Case 1:19-vv-01635-UNJ Document 52 Filed 03/03/22 Page 4 of 9




               •   $195 per hour for work performed in 2019;

               •   $235 per hour for time billed in 2020; and

               •   $266 per hour for time billed in 2021.

      Based upon the rates I am permitting for Mr. Zawila, the amount of fees to be
awarded in this case is reduced by $6,084.90. 5

                            ii.      Joseph Q. McLeod

        Based on independent research by this office, Joseph McLeod has been a licensed
attorney since 2017, placing him in the range of attorneys with less than four years’
experience in for all time billed. 6 Just as with Mr. Zawila, this is Mr. McLeod’s first case in
the Vaccine Program setting an hourly rate. Mr. McLeod’s requested rate of $300 per
hour is within the range for attorneys at his level of overall experience, albeit on the
highest end of the range. His requested rate of $420 for 2019, however far exceeds his
appropriate range. Due to Mr. McLeod’s limited experience in the Vaccine Program, I find
it appropriate to reduce his rates as follows:

                   •    $195 per hour for time billed in 2018

                   •    $225 per hour for time billed in 2019

      Based upon these rates of Mr. McLeod, the amount of fees awarded shall be
reduced by $3,766.50. 7

                            iii.    Other Attorneys

      Finally, there are several additional attorneys that preformed work on this case
requesting a variety of rates. The requested rates are as follows:




5
 This amount consists of ($315 - $195 = $120 x 19.5 hrs = $2,340) + ($330 - $235 = $95 x 23.9 hrs =
$2,270.50) + ($460 - $266 = $194 x 7.6 hrs = $1,474.40) = $6,084.90.
6
    https://mars.courts.state.mn.us/AttorneyDetail.aspx?attyID=0398848
7
 This amount consists of ($300 - $195 = $105 x 16 hrs = $1,680) + ($420 - $225 = $195 x 10.7 hrs =
$2,086.50) = $3,766.50.
                                                         4
          Case 1:19-vv-01635-UNJ Document 52 Filed 03/03/22 Page 5 of 9




                                          2017      2018      2019     2020       2021
              Brandon Thompson            $510
              Peter Schmit                          $600      $600     $700       $735
              Christopher                           $600
              Messerly
              Patrick Stoneking                     $525

       (ECF No. 47-1 at 1).

      The requested rates for these listed attorneys greatly exceed all the appropriate
ranges of experience on the OSM Attorney’s Forum Hourly Rate Schedule. In addition,
the work of these attorneys appears to have been substantively limited.

       Given that these listed attorneys are not admitted to practice in the Court of Federal
Claims, a reduction of the requested hourly rate is appropriate. An attorney who is not
admitted to practice before this Court is not eligible to collect fees at an admitted
attorney’s rate for his work. See Underwood v. Sec’y of Health & Human Servs., No. 00-
357V, 2013 WL 3157525, (Fed. Cl. Spec. Mstr. May 31, 2013).

        For that reason, I shall reduce the listed attorney’s rates to the following:

                                          2017     2018      2019      2020       2021
              Brandon Thompson            $148
              Peter Schmit                         $153      $156      $163       $172
              Christopher                          $153
              Messerly
              Patrick Stoneking                    $153

       The rates are reduced to a rate that is more in line to that of a supporting paralegal
in the Vaccine Program. This results in a reduction of attorney fees in the amount of
$2,183.30. 8




8
 This amount consists of the f ollowing: ($510 - $148 = $362 x 0.70 hrs = $253.40) + ($600 - $153 = $447
x 0.90 hrs = $402.30) + ($600 - $156 = $444 x 0.60 hrs = $266.40) + ($700 - $163 = $537 x 0.30 hrs =
$161.10) + ($735 - $172 = $563 x 0.30 hrs = $168.90) + ($600 - $153 = $447 x 2 hrs = $894) + ($525 -
$153 = $372 x 0.10 hrs = $37.20) = $2,183.30.
                                                   5
          Case 1:19-vv-01635-UNJ Document 52 Filed 03/03/22 Page 6 of 9




                        iv.     Support Staff

       Just as with the attorneys, Petitioner requests hourly rates for paralegals, an
investigator and a “medical analyst” with rates that exceed what experienced paralegals
in the Vaccine Program receive. The requested rates are as follows:

                                           2017     2018      2019      2020      2021
               Lisa M. Birchen,                               $225      $250      $265
               Paralegal
               Brian J. Cade,              $160
               Investigator
               Paige L. Didora,            $180     $180      $190      $210      $250
               Medical Analysist

(ECF No 47-1 at 1-10).

        As the Vaccine Program bases rates for attorney or paralegal work, I shall treat
the time billed by Ms. Didora and Mr. Cade as paralegal time. These requested rates
require adjustment as they exceed the Vaccine Program’s published range for paralegals
for all years billed. 9 I shall therefore reduce the requested rates for all support staff to the
following: to the following:

                                           2017     2018      2019      2020       2021
               Support Staff               $148     $153      $156      $163       $172

This reduces the fees requested in the amount of $2,271.50. 10

                  B. Non-Compensable Billing

       Petitioner’s counsel billed over 17 hours on tasks which are not reimbursable. In
particular, Petitioner requests fees associated with bar admission to the Court of Federal
Claims. However, “it is inappropriate for counsel to bill time for educating themselves
about basic aspects of the Vaccine Program.” Matthews v. Sec’y of Health & Human

9
 These rates are derived f rom the application of the OSM Attorneys’ Forum Hourly Rate Schedules and
are available on the U.S. Court of Federal Claims website at www.cofc.uscourts.gov/node/2914.
10
  This amount consists of: ($160 - $148 = $12 x 3 hrs = $36) + ($180 - $148 = $32 x 3.2 hrs = $102.40) +
($180 - $153 = $27 x 6.1 hrs = $164.70) + ($190 - $156 = $34 x 6.7 hrs = $227.80) + ($225 - $156 = $69 x
6 hrs = $414) + ($210 - $163 = $47 x 1.8 hrs = $84.60) + ($250 - $163 = $87 x 9 hrs = $783) + ($250 - $172
= $78 x 0.40 hrs = $31.20) + ($265 - $172 = $93 x 4.6 hrs = $427.80) = $2,271.50.
                                                    6
             Case 1:19-vv-01635-UNJ Document 52 Filed 03/03/22 Page 7 of 9




Servs., No. 14-1111V, 2016 WL 2853910, at *2 (Fed. Cl. Spec. Mstr. Apr. 18, 2016). “An
inexperienced attorney may not ethically bill his client to learn about an area of law in
which he is unfamiliar. If an attorney may not bill his client for this task, the attorney may
also not bill the Program for this task.” Carter v. Sec’y of Health & Human Servs., No. 04-
1500V, 2007 WL 2241877, at *5 (Fed. Cl. Spec. Mstr. July 13, 2007). Examples of these
tasks include:

              •   November 8, 2017 (0.20 hrs) “Prep for Form II – Brevig from Capper”

              •   August 3, 2018 (3.30 hrs) “Review federal court of claims admission
                  application process and process to bring a claim”;

              •   March 7, 2019 (2.10 hrs) “Draft Fed. Claims Court submissions and letters”;

              •   March 8, 2019 (2.30 hrs) “Federal Claims Court admission application”;

              •   March 29, 2019 (1.10 hrs) “Correspondence w/M. Woods Ltr. for
                  Admission”; and

              •   October 22, 2019 (0.70 hrs) “Collecting signatures from M. Woods and R.
                  Allyn to be admitted to Court of federal claims, conferencing with N. Fisher
                  regarding application to be admitted to Court.”

          (ECF No. 47-1 at 2-3). 11

         The Program does not pay fees associated with the Court’s bar admission process.
I will therefore deny reimbursement for all such fees, reducing the amount to be awarded
for attorney’s fees by $3,888.00. 12

                    C. Administrative Time

       Upon review of the billing records submitted, it appears that a number of entries
are for tasks considered clerical or administrative. In the Vaccine Program, secretarial
work “should be considered as normal overhead office costs included within the attorney’s


11
     These are merely examples and not an exhaustive list
12
  This amount consists of the reduced rates as follows: ($153 x 2 hrs = $306) + ($156 x 0.5 hrs = $78) +
($195 x 7.7 hrs = $1,501.50) + ($225 x 8.9 hrs = $2,002.50) = $3,888.00.

                                                    7
             Case 1:19-vv-01635-UNJ Document 52 Filed 03/03/22 Page 8 of 9




fee rates.” Rochester v. U.S., 18 Cl. Ct. 379, 387 (1989); Dingle v. Sec’y of Health &
Human Servs., No. 08-579V, 2014 WL 630473, at *4 (Fed. Cl. Spec. Mstr. Jan. 24, 2014).
“[B]illing for clerical and other secretarial work is not permitted in the Vaccine Program.”
Mostovoy, 2016 WL 720969, at *5 (citing Rochester, 18 Cl. Ct. at 387). A total of 8.6 hours
was billed by on tasks considered administrative including, receiving documents,
forwarding correspondence, reviewing and organizing the client file, and mailing
documents. Examples of these entries include:

       •   January 8, 2019 (0.10 hrs) “Emailed Qortney. Filed and printed four emails re:
           updates;

       •   December 27, 2019 (0.30 hrs) “0.30 hrs) “Add’l records in. Notified Seth. Made
           working copy”;

       •   February 25, 2020 (0.80 hrs) “Assembling additional PT medical records”;

       •   March 17, 2020 (0.10 hrs) “Skimmed filing from Jannyce and Seth”; and

       •   June 11, 2021 (0.30 hrs) “Organize costs paid documentation, email w/ paralegal
           re: same”

(ECF No. 47-1 at 3, 5, 6, 7 and 10). 13

       I hereby reduce the request for attorney fees for all time considered administrativ e,
reducing the request by $1,384.30. 14

                                         ATTORNEY COSTS

       Petitioner requests $2,267.50 in costs. (ECF No. 47-1 at 17). This amount is
comprised of the cost for bar admission to the Court of Federal Claims, the Court’s filing
fee, pacer charges and medical records. I find the majority of these reasonable, with the
exception of the $281.00 charge associated with “Admission to Court of Federal Claims”
and $53.15 for “Certificate of Good Standing from Supreme Court for admission to Court
of Federal Claims”. (Id. at 13). This represents the costs associated with an attorney’s

13
     These are merely examples and not an exhaustive list.
14
  This amount consists of; ($85 x 1 hrs = $85) + ($90 x 0.30 hrs = $27) + ($148 x 3.20 hrs = $473.60) +
($156 x 0.50 hrs = $78) + ($163 x 0.20 hrs = $32.60) + ($172 x 0.30 hrs = $51.60) + ($195 x 2.3 = $448.50)
+ ($235 x 0.80 = $188) = $1,384.30.
                                                     8
          Case 1:19-vv-01635-UNJ Document 52 Filed 03/03/22 Page 9 of 9




admission to the Court’s bar – not a reimbursable sums in the Vaccine Program. The
costs to be awarded are thus reduced by $334.15.

                                          CONCLUSION

       The Vaccine Act permits an award of reasonable attorney’s fees and costs. Section
15(e). Accordingly, I hereby GRANT Petitioner’s Motion for attorney’s fees and costs. I
award a total of $21,008.85 (representing $19,075.50 in fees and $1,933.35 in costs) as
a lump sum in the form of a check jointly payable to Petitioner and Petitioner’s counsel.
In the absence of a timely-filed motion for review (see Appendix B to the Rules of the
Court), the Clerk shall enter judgment in accordance with this decision. 15

IT IS SO ORDERED.

                                                      s/Brian H. Corcoran
                                                      Brian H. Corcoran
                                                      Chief Special Master




15
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by f iling a joint notice
renouncing their right to seek review.
                                                  9
